                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 1 of 40



                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: CUTIE MANGO Women's Daily Fashion Crew Socks, Cute Smile Lovely Colored Line Happy Smiley Face Kawaii Fun Design Soft Cotton Socks 3-Pack Set (Red, Green, Blue) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/CUTIE-MANGO-Womens-Fashion-Colored/dp/B09X4ZQRWL/ref=sr_1_52

   Collection Date
   Fri, 21 Apr 2023 08:18:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KdjHuDpJbbMUkca5Xj+wk0rBUiiTH/s80aD66F5TcOSXR98jU/kzW8NlPMEUAR2PSx3cD57K4xFfBK1kBXAgotou/DaN74i7RSEaB8UI+6wcO8HDEmyN6Ivnpu3LRxK/9Z+cGHfPf6Y1vZJNNwlZDpp1Lv/g/FiJpMxKCKNmsRg=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]CUTIE-MANGO-Womens-Fashion-Colored[fs]dp[fs]B09X4ZQRWL[fs]ref=sr_1_52]]_Fri,-21-Apr-2023-08-18-36-GMT.pdf

   Hash (SHA256)
   b8cf615dae4e9f6b29f8efbc66b7ebf3729853d57f35aa6030fe9f288bbef99a

   Signature (PKCS#1v1.5)
nZXQEs7YFT5269DLHzV7aNj8bql3N1DQdG6FKAsmoaCVnWboub5GMoMh1LIpX96WB591kZqu0e8a8Q08pp3OQnftt5cEQ7Rk1lIwBL54ViVYpNBdWBKR4kMflrvwaOyzdGFuZA83fuVZ5eAfq/NcS3X6PvtXtXk2vS/PS5V5IyU=
                                                                                 Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 06:09:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fw6VAPXxKjiihgvmvA6iMYHwT1LU06x12YJ41HANzP16Z8XRdO868TuPyBykuwk5BVrgS2n9veby6pAzdqa9jQ6p1GLB2bXHzGwSicE4OHsinfA3r4GSQlra/OzOjHTE1Ifdy+SduiS2NyRSW7FHfTrsN8zzSjamLzWjFuJIpX7xTutlj9JJi
   +urDwZMXufSTSaSE9+CGjJcd9CYRJ4BdPZwGTX3wnOfrthMmM6uhnpKU64ICRpyXZsXNGRIjeaPLIKOrDIGVHvCkexvogzQDuL/wL21VUPMucs5PDrh6R34KjHB2fhCtH0gVSZbLkd5c4Hp3uM0z/uqskq2UdK64Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-06-09-55-GMT.mhtml

   Hash (SHA256)
   2628eb2539bda5035f9768da994101faad5261e3f97b39a548bd270883bdb5fc

   Signature (PKCS#1v1.5)
KbXchFyRuWW+gOqT2hXyJYuXFIKcKyv0kwRqkOGVE+BNmnrWHpTtGg8BdUhZU0y/Gb6XU7j9GGj47aqCFWlSQle6GngIaF0aTBCi0qoQ5sMonXRXI3ss/082/iVZQlF8a/tLMVCGkf1VeWVKj3GHHNGqxtgnzv8M2r6TaKcWGFrIjnjhTAB5DXJ3LpBdZBCM
+BF3gTrpVzbrhoMwLCUPTm0kVcHPEK7jPcEUhvZZaFzYUZGtYEtN+6wbsDdgZv71jWUOub4CwwhJgYQactZQREsl3nNSuG+HB8qMmg1Z4FnMm70ulP1jEaQ8M5Tz1TZpXoU9Zv8nA7/Qj7g9a+12OQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | Women's Lightning Bolt Smiley Face Slippers Leopard Happy Smile Retro Slipper Cozy Warm Girls Ladies Fluffy Plush House Home Shoes | Shoes

   URL
   https://www.amazon.com/FUSSHAN-Lightning-Slippers-Leopard-Slipper/dp/B0BF7DHT1S/ref=sr_1_102

   Collection Date
   Wed, 26 Apr 2023 05:02:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LSa0H3UXWfFRElZUXO46ndS6qc+ulzw2NocYibhmQWrentkLvnjvu9VASrGdZrZ3u4TR/PUrBHOADxG98LiGiztImnc/suSJp/XY2AiQ1IjTEulgd6NcI1X9E4AauOoLM8Xm9TNbU/Z5ypqhardTyd50VrC6mahW0KmfxHa8xic=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FUSSHAN-Lightning-Slippers-Leopard-Slipper[fs]dp[fs]B0BF7DHT1S[fs]ref=sr_1_102]]_Wed,-26-Apr-2023-05-02-06-GMT.pdf

   Hash (SHA256)
   4bda3330e7c3bac89df3d67f580f499ece089a192130afb17265f611811b7d0c

   Signature (PKCS#1v1.5)
fcKzMI4edcAjvzAdTIrx0622j7eZWbcYQjRttxrHVn1akggqP97J/BYcAPrc7qpT9GFuq+RJkfnUbgsJXchunHfzl70sA/xjYMRZU3Q+7WrLGQlHXfeutZzbNk6c7qTqXYRlU9JPsLUtzmN8yN2pjKRFBbfD4ARqGwxGdRrafbY=
                                                                                 Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 12:14:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YW33Bxnx9BhSyW7SvsNZF0ndYLgVSBkL7F6nMoAyato643f7/Tv5WikkhVjVy9FJIzsRnKVdxP9zMKgJ+fcDkaIJYaFlWCoqPL6sgMxxKctCgdBqS3DXIgQ1eYl0LZdkKombaEIU03cb8nIAFHvvJhaoSQPl5NHwCGZZPUEf2t0AEOm4KUJYXbMeMx35kEqKv348RI+7Gu/gc
   +fhrkqRGLACxESG3K7mqM+1C7Z3gZvPKochWHzMNz05ydDxIwGmSv5XEX1W9pZrOmuJItRjLvsMCO73YQg+XTbmaJbJx8FKb0oZveZ3RRxR/NG7/qeyCKz250NyILcltQG0NB6DzQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-12-14-18-GMT.mhtml

   Hash (SHA256)
   0c78b84c1c85b3f08720dd80e7d011f85893c26c3263099724ca46cbc582cb3a

   Signature (PKCS#1v1.5)
J0Geoo/0+lKD2r6FZH59kNWSWI8gs3CqkNFWxmR0OWjDqAXsvQlKG63mDo0oXd+EoWMaQZnnw/nfX6bMDIGydZPfZhwx7hLE0oJtoi1i/1AOIL+WHDAKF/EsAlQvihVowQ0AAotMwtiBjR0Kkmm45wFgTisjlt+JL3s9md9A1+oJdccZqFWQeYWv6ngSOG0jo+Xg3F1jDg9XmTG6leH5/AI
+SC0fyPFZyqzVm5CQLPt7FVbdMYQyT6XZFsD/nvNyIRXtiLTgxSUyU6r2v5EKDxLungfn9cwUESgMXRDfQDgJO5gcBTEvMkKRRTyGEDnLMERbSJDn0cmqyLS77GYdnQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   CYNICISM Smiley Face Hat Women Baseball Cap Trucker Hat Men Dad Hat Cute Preppy Hat Funny Smile Face Embroidered Caps Low Profile Unstructured Sun Baseball Cap Unisex, Orange-2 at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/CYNICISM-Baseball-Embroidered-Unstructured-Orange-2/dp/B0BD34WWGM/ref=sr_1_22

   Collection Date
   Tue, 25 Apr 2023 09:31:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   d5kkRc2wRLmIJ5hX9jN4E8Er3CCh+2/ig7QVBaYJRPI/UsR5qkYCvvGlEeT1TD/sNix4J2bCboEfb7RGaZxSl4QnhJrStlHpSgRZlcYSGFVo3aiRUBZ/FUpj5fC28A5SuzhbbCNeI6Stgv+XSK9dsEz9T8PAiYrSlqgF3SLv7ek=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]CYNICISM-Baseball-Embroidered-Unstructured-Orange-2[fs]dp[fs]B0BD34WWGM[fs]ref=sr_1_22]]_Tue,-25-Apr-2023-09-31-28-GMT.pdf

   Hash (SHA256)
   c5c9d84f333dbd6d9aeb86899da94451968abe88e5044f203de38d4123566833

   Signature (PKCS#1v1.5)
p2qNW5F0tRII9owS5b0GzyhphyOD76NVrIIrsu2VnN8Q/STYGWwXRTn2z8mcWuRoP6na0UOGqNkfRF6dWyd5z7iAc6kMtgAlEHeiq9wh7QJD9u3/aH69KVnz4C9B29zgxU3N2A7AaU+VBdPy5kytDoPflqQ0HxxdaX3GZAzpIwM=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 15:18:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pJzbzxHqXSbt22REETBENdBZ5IvlyZmDwG7oQ7uT+ZPVZEGLXfSE+ruZ+fhh+uLLl13oG6XjDysqbKqIJLITXPfxzvv7bLcU3Iuzg3NQaYDWy1MjmJuPUeirJzHYPViQziwIVJxehYnssYmxIPcU5XNwXWTSuCG2NtUENMH+Lju7XY43WNrSLsxcIH6sjbt0OA4TeHZ6QLcFVKYd2kJC9Qn
   +jrwqHWSKjiFOQ93/E12WsJswdl7Tu2dvWaIqd+8UOdvkSt+zatA3faVNVZDAcMCjSHZ/Ry+m0ivboV0m0I0PBKQy3dmPpKTNb7xEHIKyTVTCfHcBvZ/7nXNnlzvcPQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-15-18-20-GMT.mhtml

   Hash (SHA256)
   9cc1d2744b1ff74f47dd6efb3358e379fd57522be7163743d5623cb2030f7aaf

   Signature (PKCS#1v1.5)
MjQuTBBgK850aUhNvuCqzPbCblQ6/UJMfnvdhuo4gyURmE4eV4km6TfDbXhkuzg8aH3DB55GEPsXQ8Apr7JDhL2EmM2chAHU08cNze1+o0HXm+Llh/CV52mRDHnC7cRjJjYqT1bMOUHf6V2kqL/FCe4f7n7EnpWArZx+m5TiX9GLkU+uoL1b1nmui+FVlBAMwgTxPy3FnZCWIC
+CxA9U0yvTCNCGEOR818GnBt1NhTe5/Ox/C6TaS5tA+gWmqEXSgEATVqEDz/M4l1HpUuTlGcLLG5yt+pIQueYia3dWaIAFl1DcTth+xugPCFR6RlmPHFaD7lz43KAmOkL6PAVmIA==
                                                                                   Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: DAFAJGY Bad Bunny Slippers | Smiley Face Slippers | Soft Cloud Plush Fluffy Slippers | Slip-on Cozy Indoor Outdoor Slippers : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/DAFAJGY-Slippers-Smiley-Outdoor-S-Leopard/dp/B0B9YHV5MY/ref=sr_1_23

   Collection Date
   Wed, 19 Apr 2023 07:35:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PghpEDX9gZCw5GS2h5dQydWFx3GVoaT2yAHgc4h29UYnRN6YF/oEuKXfig4K4/cJCJENNkVLzag3nCkw3iLMEy+huJMfKzDaOOvmKdN/vTnbaI0m+UlBW+NuSi3+ZuF5vvUYM9yT4y/wFISnoRPmdn37XTnos/DrjAZgzoiTYgg=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DAFAJGY-Slippers-Smiley-Outdoor-S-Leopard[fs]dp[fs]B0B9YHV5MY[fs]ref=sr_1_23]]_Wed,-19-Apr-2023-07-35-44-GMT.pdf

   Hash (SHA256)
   d81fb64008339ccf63ad33923225e5f2c58ae404af6db0d02897e4b134c72e94

   Signature (PKCS#1v1.5)
KqI+xaz1TxeNrBEXVFfbEiJx3yYsVZOr5aC+1NIkkPTjzW/WoMAZ8Py2gMwiWeomh47PteH7Hj8zt4twh7Lsnl/FlxcqrPVo7SY1LqPv+1yS1mAvBhoUEecB6QQfI9o2wydAUJ2p8Gjsj7J9jQHk5R7tA3xA76I8dAA5nZeckV4=
                                                                                  Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                             Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 05 May 2023 08:37:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   KRo6H3HqeLBNMHj34/6TWE+wK9Ln0P3adGGCwPUtoUPJ73aArB+bGukVd3XQhXRBI7ON1FRtGn43e8HZ0q5MvlSr+nCp6N962SZ6KV+CmoXiwGegf6iwb8bO4VIlWyW2InW6dIeFk6kAMr0RTwKp7mft2a6tjAjTJarE5Zr7IAu4p/5N1gZsRE/kgJlWlERGpxEEjC/
   nbuDAAa4XGJwvDz5VxcMIUtdbiUNBnBady/ScvaFxNGgSCftjNPuiWQHd+LgTd6bm6coO4NJ01Iq+TmvMsACeNJ4mgVFEjOo45JpXySIpmN0Xh1CsjBWjiyXCkZTjjM+dpwLod/BGaux2sw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-08-37-05-GMT.mhtml

   Hash (SHA256)
   b480901bdd20f341fd02625e29e64499723d0a41d93717500de235accef48891

   Signature (PKCS#1v1.5)
YSdeDdHTP/EjLfIXkFGtDxczHwJK94Bcd0IHvdJiJ/ow53aRcvBHCfYxWBcKDdH33MWs6hHmvW7KUZPAPWBlYvCv1uY5TvE3NPLekF7IXw4a5Vxc4c1EFyc04k3QYqaypAjzuYoydShLT2ymJf+VN8jRHaMyIrD1bRuXMUTjXYdw2QLPDEpj3pWiWh/
tagPppM7qbyhAYnmhKnPQ2coVxRtmolfZVjnmgs6O0AF/k+sKgesFsJmYt/MOvIqjn9ifHyNJKyIWcv/ALGKF7oJZ8r1J2Bgb8u4PkV3eRsayWLuSxTevp+O/NrWq3pAiWEwHVcWNtvpefqPK24HKQ0CgBw==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Necklaces for Women - Happy Face Charms Choker for Women Fashion Pendant Necklace Jewelry Y Necklaces for Women Gifts for Women,6 PCS: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Face-Necklaces-Women-Necklace/dp/B0BNCH7RMQ/ref=sr_1_83

   Collection Date
   Wed, 19 Apr 2023 10:03:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qA7G67hKQNqdRMOE2ZWxXInG1sMpznK9xYX+Vaoqj+VR26KAzy8NfhW839O/BGVtCycWs8JK6WIgduSbP1xREiYF04aLmI9Bd5mQUZprZBkAf1+mNkLZg8xSWNbEvYVZ7lynibQzQdiXBnRj5uuFYbUZlkVB+Lt0ewRUgZ05EdI=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Face-Necklaces-Women-Necklace[fs]dp[fs]B0BNCH7RMQ[fs]ref=sr_1_83]]_Wed,-19-Apr-2023-10-03-04-GMT.pdf

   Hash (SHA256)
   c6b7ceb6a347db945cd0e11d0f9fdfa086b3c45cc342ee39008a929d2bb6d450

   Signature (PKCS#1v1.5)
B7ufn47LzpGjcG9Sehtdrb3ztSQMZWIn+MNtB7122hu9CdoleG0T4iPNmDuX31/WCFnyvmTbu4DaFhpqYwVrnxxU+fqWy9VwAFuoLIVMNIRztXNJ1+r0YFlebK/4G6eay36hHtwF1lF0aSbSCMDfDbvvXSHXTdmP/z8Zxn/kPcU=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                            Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 07:59:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   P5bXayJjFXq2g7UVvzZ9qga+hFav2PmLB40nZH2pfkDvhEHi0OMpWFV+Xko+UbQmuM+n0yalRpS5EyMj61D43T8R1ZSjedy53RPPPaj8x5L85g3/ez+WTOo9rydewQ+lNJTjafwtNtI4VMg/61fVYwq0tpMEjMak6EoBGYJI/y68vX55pS9YMv0BVH6E16LUO47rgH+UvGCC3NmNcJ
   +K1sZ1FQUWpoIQaIMeLq5/nD49/nPebK+TXsf/PibEg7xLdY5sJhcToNzGenIdu6Ad+IGUDmTXLxmDVYoPrUH+/Vf8bLTdVYijhvZsatAmoAVj/p4v1M97mcLjNnfKZbWBsg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-07-59-54-GMT.mhtml

   Hash (SHA256)
   854015710e54738baf2093a074e1d685f42ab49a161032dfc5ef7dd072cf2b8a

   Signature (PKCS#1v1.5)
ng01WbEilWElKuHCRiHkeoZTBHqWQzCZtUibFowpcYrNvDBGIniqlflHur/sbFlneInqUg5hbC9WkCYVLiVxDuTj4qkdRneKbd8i5K/+q/f0dbwXTi2ZHtnGqjFVAFT/ajZQUie48ARJMp6XaY9cSTvaRKgYlMI1QTlea9qmR0ZoLv6VTt4b1h/
bMKx3lMTUkiaJD2orPJoENlLPoXM2k69pW6XTu21WtWiwX9C4CqM1forrXQlDMOsHJnyy7qRFsC7ySqSu47dZhQRX48weE/cYAY07YHfdsAjpYEap2TnsDspza3/o24gBqyGP92RLXpJ0hD2EM7TKdDfrPSFfLQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 3PCs/Set Smile Corduroy Aesthetic Tote Bag with Smiley Face Makeup Bag Cosmetic Bag for Women with School Lunch Bag (Beige) : Home & Kitchen

   URL
   https://www.amazon.com/Corduroy-Aesthetic-Smiley-Makeup-Cosmetic/dp/B0BV6GZGVW/ref=sr_1_150

   Collection Date
   Thu, 20 Apr 2023 11:46:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   sS9VIdvH7HgMTHHjPAubUj/BfUIaBR81ZOFVc828N9HYVzSh4OHK0RJiO/0sJ4c2ACSKaIY7dnW1A6JSr1E8BUYUIj0kGFrd5nrtSu8zTeFRnkMSJcYAPKRN+Ix7Q2ID1RBzsituPibevPvqOghNtem9quoSWk2B3V/Dkci21fQ=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Corduroy-Aesthetic-Smiley-Makeup-Cosmetic[fs]dp[fs]B0BV6GZGVW[fs]ref=sr_1_150]]_Thu,-20-Apr-2023-11-46-45-GMT.pdf

   Hash (SHA256)
   5a09f390f1c05f28dc2967b9bea34fd781373b2b89e19485c983dcdaedc91e23

   Signature (PKCS#1v1.5)
kn/9n0nCH+jUzEMbpidgBzVI+IHhhYVs5JUU5BMYZfxdIU3EPis83IQaA1HLebdZQvC08hUQsvanKbeCfhbSbZWImIgwqIWt6vX9NJm4cw0dQw1MGplY0bac9JtCk2hDykg73XN9A0i/KhBkgW7nfWrOl+zgPFsiHSOHc52JYbI=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 03:54:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DGzGc+GVgIlmnZ7XKHOg5yPRVDRsVWoXTcBLIFS+D0jq21ebV7ES5QLXQovav2AmlUSmJGQIhoZ9K22ASn0LObsUOllDEBWPbRVJZgiDQNvRCxQjrhzJxe4lGR/vjuBzo22bYLj3KakteOtwHNBcFyn0bWho9DTWmue4cHZyUlX+2tgzJ6kCv+/GiO6ZFwfFax+VB98y2j5dcjd5M8jav/
   HbAMYfautVxdrPCmrUnklamxmRO46Li9PbPx6tBoukpVx0xQo0On9NPFM1FtcS+/XE++0TloezGpylIzqH8T7A664jbHz+iNJfLF9a4130jbzLDZtyzMTBqyZgK8dgPw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-03-54-02-GMT.mhtml

   Hash (SHA256)
   32c102f05960626c20fc80d9aeb0d5b3f08f353bcb2ab218413b02511b25e33a

   Signature (PKCS#1v1.5)
Dkme2ZDZ9x7fFNausHjNpYMOy8AXsO2ARNFf6C86j+wZQbntp7OPtarVD+2Tw7jhBZhiggmZ8xtcyT726rV9z/HaxaUqWFZZLuGNMbQgB3vlqR7vMPsdKDIxtrovzCC4E2vsaIVuVS6lohCHgboExmogweyJT/mm+FG8Z9XoIxTOOo2AbjN9tVx7T4Rd/3fmeW5jUCigS4etZZ0+G8OY
+Oxp8zDyFsUebZGT9tcBwR+MMmr8ij6rNeRL8mmjn2QPhGErv6zVShZjtwRzSZX8GBAoowTT0XnOOr93xv7j0ekLJ8BuRsSxILDCmgvPv8wUBsSnaT/ch7ld4PjhMTdP6g==
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Danitar Flower Floor Pillow 23.6" Cute Flower Shaped Seating Cushion Soft Sunflower Smiley Cushion Flower Pillows Decorative Throw Pillows for Chair Couch Bedroom Car Shop Restaurant Decor (Yellow) : Home & Kitchen

   URL
   https://www.amazon.com/Danitar-Flower-Pillow-Cute-Smiley/dp/B0BVKFTV2X/ref=sr_1_218

   Collection Date
   Tue, 09 May 2023 09:45:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CgkatryhKxBf9n2JnoV0Q2QKt8iM4k+rUebA4adn4Z9YKOWrZt9GIugzXFA3iBsEvmueJk571vSVTXQ5mW2xuXRdn6hNlCRjhInRpdE3rQl8q7OexdSSPsjDW/4Qn67facfuFl2wKMkf4FJ+Vx+XhIMna7fInUCL7JC19IRLgFI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Danitar-Flower-Pillow-Cute-Smiley[fs]dp[fs]B0BVKFTV2X[fs]ref=sr_1_218]]_Tue,-09-May-2023-09-45-56-GMT.pdf

   Hash (SHA256)
   0eeae207c169458c870f3a351f60c219e848428a3fd13e30c2e71f3360a3b05c

   Signature (PKCS#1v1.5)
SDxfSv1vCsU9YqXcKrqkIs94+sahRjqNHFR2aArsX6QaFYZ+GfAzKs582J4CDgOmUmmEygW0V89KXcoegsc0Gqh+cSxEPt2KqSP5fVKitvnkbWAKUNTrZevYwDtESMJkcoLWKZo9R8fp+8fWFPzuPlaLNpvZUGPJY2MknVtlvjU=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 06:31:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TceQ0J41o/ZPBvVQRhvPR7X9xLdkQtESxRHzMn/1BkwpiwZJ50Er3YoIdoY+pLWM8NG8E0WpRsmdDdk/98zdcjnfF7uc8mNahmcy9EZ5tiShJiQxL7QBn83kos1HboqFZnVw1hwcGicSxnyyBnCR+Sx9uXQFtXWRPSVSvhlOM5ecSY6RkEzpkitI8+rAwwa8vZeL9Vgddc/
   K9hILoUbGFOSTxu6hIoRAwwBqTEYli98ZlQ57YWhw1Ko67zkW6xvxDkyZebEHDwoxBUBwavzMI2RMrQuWVru1WXsneNwflbuE3EoBOdaJANiyUk4PMyGhnTyz3fNQeI/yyvWAK0KmUA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-06-31-16-GMT.mhtml

   Hash (SHA256)
   54fec187f1b08c36c44cae69fa4afbcf31092899817e06546fd016a75be8875f

   Signature (PKCS#1v1.5)
jJm1OG05Jpw0jiBDgogSKDDydVlHUIT08sakZ7VOH1WyKH3TYBaE34P3Wi9L6liSFKFs97OmSkkmcfAjBs2kyQykn2geI6mV1J2uAGVqabr2tX6PXZ3EsSsnQJq7MMMS8fxvYkRd/fhoqa/2TrQxUikQFCiMY/
fvcPm7PF3ZpzCVlfzV5fDxGKFhJ99gEp4ZSZ/7cfLEhbNWPjBZPxvSu0TUMgP1MeEGBlwI2VYvvCwp9PaHOZl2hnnAdu4S3Hp2Eki8yW6iEvRMVgMm3PWWGLc6JdD2NLJihcwWWvWG4D9np+mYAdPhIPYUx6Byz7OamCYamK6YzPs9WxzbRfF8Ow==
                                                                                  Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Little Daisy Sun flower aluminum film balloon multi-color smiley face net red balloon flower baby photo 28 "balloon (6 PCS) : Home & Kitchen

   URL
   https://www.amazon.com/Little-flower-aluminum-balloon-multi-color/dp/B0BW5TMZ1H/ref=sr_1_392_sspa

   Collection Date
   Mon, 24 Apr 2023 07:05:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   V70g/3oRl/DeKlMuR9UPB/bMY/RBIpeXvygwii9tg2AJNF6Y6vAUr6+ArQcibGPLPShyH0Ho2ZK5nYgFPWBizqZIYaN5GTc3o8LgRESJ4Cp3H42q42eBZOk8j7uNQMWoOmS+crlgNfGtCTJAoJkekbuIMP6jkxWCjWM4Ossp+oE=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Little-flower-aluminum-balloon-multi-color[fs]dp[fs]B0BW5TMZ1H[fs]ref=sr_1_392_sspa]]_Mon,-24-Apr-2023-07-05-18-GMT.pdf

   Hash (SHA256)
   ccdb5d244529f4b518b02b7f73b08846a1ef5dfd7cd99f98510e9c37af7d5d00

   Signature (PKCS#1v1.5)
EOxSLAsy6C1fE38UAbRTTsNv88GSN7+CUHjiALajsSTPA3w6pKeM1ifWby+AsEh2gkSGVOsV+2T0IutDxWQ1pGIkaOCK+bxRyHPKZNrSJ2BCQFx0oV1kKl+HsEPyoO6I9kkkOByqhhTG/gvZnjawqcIIE5PSpkB0TXBM7P5ZAS4=
                                                                                 Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                       Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 09:52:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GH/okB7XyvpgJKu5pIe2sslq0AYp0zxbziOOCwe5xmkmVRR2P2unwChLJ/SpJrT5BhevW1g3Wev7XqGZ8O3h7fMAqI34Y2gBerWj5FbZTQffFfeYAAPMq77K1/t5KVDluBrk1rNHA2IF+HzrL8DMyDzt/NqEqvhKuU24tfGWKpr0+LBKQ8yKAYqKokGxPNjRt
   +bVEN2gP1xuRo0D9EY2CbGfEdmuZYLplwRUJBE6MsnI1tDgqN0f/mwnWL7/VGV6JuibH1vjEpSHusyrkXiWGKiVjCPydVLy90ujQuchNcevOzQL12uK5Nz3NzuUxgZZE+RPjgcQ5qf8c5U1m2pApA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-09-52-48-GMT.mhtml

   Hash (SHA256)
   23313b083c6a7ca9479664d3e9e4f3bf0add0bac4a9047f1ac7f091822b8878f

   Signature (PKCS#1v1.5)
G6yJ89eQYNwpz7O0+RaabgSPeVFHorp4pyEmUIKNgCzZhzwxiTlMN+rKhb8NqlPFB5tp+BM+tAVW81IQaUJYSdhjZ7aXxSbWOLdz09Hjn0KPBv7SbZGY4/9iqQgeCec6NUZtfqIrpGZurJuKKwu7LME1MYC0atJLeq4/
qdjYg9EW0LXbzCdaoQfiys095lTnZ4vOyP5149JWdLUd4xVGvlLE8dCMkx0fHprRca96MERNqrgzwkyypTDYeEupnNIw+N6PUEGO+b5SH6AVEmkgM5KM+jc6goNYTQOQkb/GQ/anlAcskZBw+zUMlpcgg+3NNJIDcFQ/6j/qROHUFwWq6g==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Socky Sneakerhead CPFM Heat Map Stop Go Ye Must Be Born See Ghosts Emoji Smiley Kapital Unisex Crew Sport Socks Orange CZ2670-001 (LMISG_W) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Socky-Sneakerhead-Kapital-CZ2670-001-LMISG_W/dp/B09J3PZKKY/ref=sr_1_231

   Collection Date
   Fri, 21 Apr 2023 09:29:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QK6oheKWr7LomNO77HVRGMLWOeMB5zgLQ02rwt6Qtf+i6t7uwFtWo9zfgPGohWrwS9ZuBAEZNY1aLQmDHHx9lTziAjYXzFYp+pmFBuGT5cODvq0mViEizudTsIW8OqqR5WblKpamBgQyZ6FH3NqPU9JykikwKA/XZ0TQbqbp65M=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Socky-Sneakerhead-Kapital-CZ2670-001-LMISG_W[fs]dp[fs]B09J3PZKKY[fs]ref=sr_1_231]]_Fri,-21-Apr-2023-09-29-27-GMT.pdf

   Hash (SHA256)
   6c26f595dfc36b6934bd9660049ac1da3640928a6ecaf2396d767220dee4be92

   Signature (PKCS#1v1.5)
lIvlkN/V277UzvcUGH02z9yphEAiF95kbkdjqO0mXz7abpwkbzG56d2YVOaCnKIgXI6utwRoh8le0AWc4ctMDrf9Rt0R14EeRk4xbLL3daPLNPmW9QLGGJIihIgPLX0w8tjwggtuBG1qusR3X9uk0pyCk9qnpUXQ7WB8UmnQj90=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 22:20:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UJH35qqzLiKogGOWZsZo7jgQJnHj4J6jw0HKe0G1ePW0FqZN95DHsrMRgaLf5b0bXpSOALcs04/RIJo/3q54Qc1iCsPBBF6pNnIzQ31ZPx+vLfVMq7P3IiDDRcl7208d72SuqVMDIRH5eisN0t2xcSpow+haXTI2FS1A44Y/
   dXAyWBivCKXztvWYpLfnpJfKtH7cJ4IUuOR38ZnpbMRPlv7HgCsE4NIAWq8og33FLh331b23+3hlqXt+23kkKSVo0eEfKj9BQ3K7G/h1CTx8tNYNuscWnUZ/cVJb3pZshPum63IX42m1TPfbBX3LutNLLrIcSc2KxL7pGambJCD6cg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-22-20-18-GMT.mhtml

   Hash (SHA256)
   5fdad57981bedf4043063833132c243bb7b93b399bfcf243adf01ccf2f7447b9

   Signature (PKCS#1v1.5)
SVm3hWZdeIfYa2dGLQ0ZnSG14hZr9rOixMQB3usaWdGBIEc1jq5YprKUu1Fu9ccTFdpqvibBT6b1VKSGFZs0yNb79TVqZmxpbTr/dqvSXlQ/6bax1ENelcOLmnjm/pnjhWHj9+GOGWnL+0jZWCROvj02KQTU6sU3SOxP7ihlaz6vr53obeA0+sEVbTNBkGWvtYBT/
i9YR3w0Wqd3kfLax2kmsnZe1wJSLX0bzkVlhxnRTYf9HEYcsqPBC/dEmuI8UuidvqIZFAT8GmEAAXazPt0vU/SXljKd3/Co6Ig4M/RJpIig2HPaaw0LBsC29UF2HdiyHK9WJxczlufFl3gTEA==
                                                                                  Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 100 Pcs Colorful Smiley Face Stickers Happy Face Emoticon Sticker Decals Inspirational Motivational Emoji for Kids Waterproof Stickers for Water Bottle Laptop Skateboard Computer Helmet Bike Luggage Motivational Decals for Girls Boys Teens Adults (smiley) :
   Electronics

   URL
   https://www.amazon.com/Colorful-Inspirational-Motivational-Waterproof-Skateboard/dp/B0C1MJQ9SZ/ref=sr_1_24

   Collection Date
   Wed, 14 Jun 2023 08:42:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J0FZ5nMW1g1e690bGuiyOl5U1eOwDryXis9uPUzyKh1CzfPaq2elgtYzkGPYMjc7mh3tEvTpbYAbP3QipYSRDFlm5BEZ8h5/jReSlkbj6wtdLhN0z9ozqa6aIHHTvWsRdKJtgyfKJiu/LDJ5BTXtNumSKEODMvrLyUzXeUq4g38=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Colorful-Inspirational-Motivational-Waterproof-Skateboard[fs]dp[fs]B0C1MJQ9SZ[fs]ref=sr_1_24]]_Wed,-14-Jun-2023-08-42-08-GMT.pdf

   Hash (SHA256)
   afe78ba3859d52677084057b04023b71e427b34c5d484d914d376e3284ccc031

   Signature (PKCS#1v1.5)
mollAybiFchuoP0XrlzcZGEt9XwiiMJrwa11FciuvxQn7KtmFUn77sOlVa8jYXR7UlErEGfuaYfs4AXbe/ukCvn1pnPv9UFbf6krYC7wjbUcYvXqw++ok8GwWhDmGi2Qd9IlIveGSyzqWYvomDgt8ZbYwJYaDW5ZCLwiPqtpAyQ=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 15:06:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   STTtThhlpzRiyJ2gsiTilhUUzwWEhnxl/4qXHAudvI7Ez256232ljnErj96jwd4XDc9AV57AiUxOs1Mei
   +DYjPTHPjX996+JVVpP9dyKymMnQ8+xMwA3agigqsU91ECVdBniolyBTYuHoLZ5GupQhPkOCAuiBTsWKAVK8+l8XjJjWypjdfVqfSB6U4WgmAsnm6fbEcoUCYLJI4sHYebLHUQgk7DlyfjtHBu5HLndrS7FAZf4gEFIgFVQV7k3mJgiMg0yaR5BCqyy12B2wQSqy09sgiYpwd09I1v9P1r4aNPDzU
   26Ku/ZFjNyJuTv+wm69rzwoT8GOy9Zp03phq+3Tg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-15-06-21-GMT.mhtml

   Hash (SHA256)
   cca6fa233780a05cc90247ec4a08b43e4f2c4fed24f1b15ef6def930270ce78a

   Signature (PKCS#1v1.5)
oGpm8IaVw7qgzfenKOFJucWX6HnBam4nBRSuEaj8BquUbZKdbS4uZ1Ley8JlEtSs03vm7/tkSQU02WhBJrQM3ItPg5q8xAEug2pud7qnEMmdJixhy7xFYJyJRbXm8WLvOaMkNgLQUuiTu/2kWXqh7Ih1y2Sbu0k/
LBuCVN/8Nh8LZbv5ERUJy9K6ugc6UgnKVpGlmXrEWnZIKaz7PMQFBM64WQDO3ATtg659t18rt3dH9SjfEv0mJq12PB7mra0L1KYoOV0gcthpHG/YUe9Kvhu6GW934hKZwPmv2B+rta9wnG38dZ11hwBvxhwLaeWmSqbRXiIq+Gq2eZazt9aBMA==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | DASHALOU Cute Lightning Smiley Face Slippers for Women Men Comfy Fuzzy Soft Cozy Plush Non-slip Slip-on Shoes | Shoes

   URL
   https://www.amazon.com/DASHALOU-Lightning-Smiley-Slippers-Non-slip/dp/B0BJKZW6JM/ref=sr_1_85

   Collection Date
   Wed, 26 Apr 2023 04:49:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   E/j7xVzVFJrPlo1c4xO3E90vP+AMs81NJTQFHpKlaooS8FBAP30zQcLAC4DweR8sfuFbDwo0Y6A3EZNwXVrehhhaw8EYBbVnRN3UDSyR1yxBBhGyQWzH0BUy7H37gcxRNKmstzhL+3vC77XAOhY+IOLdLE/4uoJt6COMsAUFXko=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DASHALOU-Lightning-Smiley-Slippers-Non-slip[fs]dp[fs]B0BJKZW6JM[fs]ref=sr_1_85]]_Wed,-26-Apr-2023-04-49-42-GMT.pdf

   Hash (SHA256)
   220550910b96d105de2c868c14ff9b6d8e0d1e0e00b10bc297fe32986190324a

   Signature (PKCS#1v1.5)
IryJELXdhOgMxNjpO9IMOz5lmCaHMaBTr9FAs5nT6QWXCIvPf26rDLWE0bxqbAjVoRZEszn31uKR+/LwjE3p5PtCZQF4rdK931nEylsB9rcVMWzlWZ2i+tnJYe7yfeDmtKnvvxVI2xGuel4WYhl2+wNKRiq1MKholDBag6YWbXI=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 10:42:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qPvfjkxU9L9MdSihbei+j0zj6k9dJE8JlI9u2lrB6FDRdf5SZ2VIF8QabHtlJySrfGhoga56yCcrFeRSeSbtirDjYjpNiUWg4aYQLKgp8sg7h7Q0Ygj1v9gNu+ahnz3bGH2Led+g9vPeDZ3HykGd6oS0tcqHAWFfG8ziGLQFb4/VHFWZ5JU/
   zOdctyOTw8QNNEq8w8FaGvsB8gxv67KNgGrQZkp1wPUoXGndqdgIPq+s45/CogyCkwxfIj/Q/K2Fv8SKJmIyN8GQEhT+ndOJM7R6sidCz+xct5qzi/cL8c81sjJ1SnvWABBR+HW5fPsAj7zpdXBZv4Kulba43r7mpg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-10-42-36-GMT.mhtml

   Hash (SHA256)
   1338af021080ebdf0fca4d536e28726a54116ebf3b95004108195da3628493b5

   Signature (PKCS#1v1.5)
p+2HvyYEllgNmjKFsakE4XXZAyenXxaJOvdiJz7150071P8eeYtnlXwwlq1O2DfNAmwIbShNW3rEd97daXebIuxQqOOqTn2AIZ6nUA89kWQ8fAnbzevjeL5kM0QZJC4sN//z1cRAkzqkWGycr3JdZWJcJ5DRuzk2aPf+9WTysncMpo+7Kv6giLm8yveSSlAjUxpQe
+V7q0UukEoCjFflI0NCwxq0aBrksux0DKIGD/e8PZE/8Paq+5vH3+/aTNezv7KV378cePuuk/B3yoCI8wBIGRTa+0BHFqKDEtUXZ5enDmOIVbrBiJo4fIsPkNi6qdq206FeO2GtHk5aqqgGNw==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   DASHENRAN Smileysox, Smile Face Socks, Radwish Smiley Socks, 10 Pairs Womens Grils Cute Smile Socks, Smileysox Smiley Face Socks, Loouz Smiley Face Socks at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/DASHENRAN-Smileysox-Radwish-Smiley-Womens/dp/B0BQ6YHV55/ref=sr_1_248

   Collection Date
   Fri, 21 Apr 2023 09:32:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cVOip8OwpttSPdDidjoF8+yCs8v2G6Ihn6rALLd396dOZKwYT36l2MVhTwGLJXoLMU7rrhydvgtKAL+T2gDNPWxuObkUCWghQQpOw/huRoyj5Kl+qCmZ0+sGIF6qHF08WoSJ6RqwIRWelnMAJDO0BTfznilQFzTeWCm2FKrxpX4=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DASHENRAN-Smileysox-Radwish-Smiley-Womens[fs]dp[fs]B0BQ6YHV55[fs]ref=sr_1_248]]_Fri,-21-Apr-2023-09-32-06-GMT.pdf

   Hash (SHA256)
   65e4628944cbf8b45562ed60b961d1feb0a54f2519f509ac3e64b4009c93aae1

   Signature (PKCS#1v1.5)
IgXwjQRhsiv4c7bY0fn710+KidEaZW2MvIiv4Ewu7/acyWFNsdAKgvnmOVHpsgEfSrzRzMtfIs03hElTbqF52slbdCMTHXi2nzc6gEE3YAekgeAsRiZBoU+le3AbHkQCGpCqdyJdQmF1MpHc+MA1lwRtr46Of2Cq+oQ3EnBHGXQ=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 22:42:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PkegW7lPE2Z51X4Xx1N9o9k3nB93IAVHt/MvCZ2G1eVF+D5rUOyw+Ar/TQ2OlaLGYLbB0X+KrjbPbbAyROQet7N1XjGC7RvEuNzLJ0auosqoCer4qMofEBgyAHMEYJGoXkSYBNQXY8cfkkLhmwNB5jSYEPBtV1OnE/WNfROE9DTPfYs9ruTS/
   AeXGPRzKYY6nBrHckvkAsW96oox40oL81sXBGSes94WREJvrBRBMYtF19OubzrKWdjGU1s2tlE5oYXXypmqWggtYxjBiv49O0GcQNBJ6pzMlHC1c2XyQDm9XUDp2tfEWeMZQIuKfX/2CXjitBviHXOxx1S8OkvY5Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-22-42-43-GMT.mhtml

   Hash (SHA256)
   87d9caaec80f51ff96318b8acd75f7350ca7129bfd76f2693e04b74d6748fa77

   Signature (PKCS#1v1.5)
IWlvuHlbLVU2zeU23H5v6xlWw/oxFB+IyRiviTokuwKNHk7Tf90DRkcyGT0HiQ9qv5rRI162hbYMgfuFW9Ef44CU57mTTzMnPkktFbbT8/UfV0EySK2zg8c1FbMpcXEZC7rt0JfvCNEVE1Ov8A+ANITbi+sc0/bI+q+mtFDhKTPrFm9npByl9V3jQaFtB+n45rOK1yPLqK8ADG/OYH9N0CLojyziHpn4wPIpv
+/A2CP0sakYI/3L7fsTGX4rNGHA+W3Coh+cYbNjN+jql1QW5ITQa2XGmjmmPQbcjC7MNvM3yv2zaBp/7Q474LdN+HmBpgTafFsRgJXdfJya6RoyZA==
                                                                                   Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                                  Evidence Collection Report
   Page Title
   Amazon.com : Decorably 10,080 Small Smiley Face Stickers, 70 Sheets Small Stickers for Kids Reward Chart, Tiny Stickers for Kids, Smiley Face Stickers Small, Little Stickers Happy Face, Small Happy Face Stickers : Office Products

   URL
   https://www.amazon.com/Decorably-Stickers-Classroom-Teacher-Students/dp/B09JWMRQV9/ref=sr_1_85

   Collection Date
   Thu, 20 Apr 2023 08:11:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   buApZryz+0rfGFo1zXb8db6gJQBPyUJYxW+/PvZDxJNNYYw46vNi2tWafFpmBRrLbq2CbvzMzigwdUSZlnceSwjZjVY7PJ2ex8xMlBrFkj8z5/Fh45uO/uMPY6uzQ55Mj9phXVKICFWq2kBFTRemPxacSk4aEJzqvdzsQ+QTjXo=




                                                                                                             File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Decorably-Stickers-Classroom-Teacher-Students[fs]dp[fs]B09JWMRQV9[fs]ref=sr_1_85]]_Thu,-20-Apr-2023-08-11-03-GMT.pdf

   Hash (SHA256)
   98e27653a40400e0fdd2ab8bcfce14c2576c5a8437b5245426e9e1c8c5866d5d

   Signature (PKCS#1v1.5)
QteKGYWh30iT/gEfkwzXwKG+foczZy2MCQExAjafDTNCGUvAjG1Kqv7vJZwDEoZLtr1sZwbgOBJbSAq0WVsV9tOCer8DPQGV6xHiomZDiwhBO6F2eCCaC4X47kbq+LzKv/xVrhcjKlLnaA/qOD/UTMuQJj9LOkS/obQb3JC4rfk=
                                                                                 Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 06:11:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SxS1wW3oA+rmeasixtRikes6yUcX6Pqm+71KurF06L/1dsS9sKs9OL3ce1tapFsuWBoXkv79bBO6y23O+PgUoLoGMoJ6InvB2ncmZMUdipLwmyAm/1gc6xjXkHIaQtFjDCHwHjkDhYLVsbxbflYhDDQd84Qo/
   QuED2r5KQyTY6FMuDipdyYSfxqZ9Qj5kuguryeAzLPkI7mM53wKK/5L3FxUUC6johZql/raMji45qrNHHMm/LQQngBftS8VwR0D566E1A9aLj7qsplck8PAaRTQxsV2GC4bpwjc2t48IIWlylyPjVVoPDyJ05mhJZ5EVadkDATrW0FDgUSw9N6gUQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-06-11-06-GMT.mhtml

   Hash (SHA256)
   49dd8c2add040c28cf080d57fea48bcd5c820d54cf14f3e824aec51be38099ba

   Signature (PKCS#1v1.5)
ngtUG5BpNupgKg7ccKvDXnj1ZlIhcIBBMpbw8nK/9KqY9p4wvb7cAfbrWTZZb74s7E9RUOBgRSUAzZNc886NLEfaROFYNvZ48p/ojSPGTNgLIZ84D5NzGVm4vFKYwgeOlwcsMCLQ858kwKVvBr7HtSTAosPsd1a0i7oiqub4zjTKNhrE/usOsYEo1TVeJAHvXUD+N2jFDi6T9Wee+wqjJwM/
DhV8NX4ADrVZ5qteqW5rVR/O69kS5CXBw9QTE6och4XLWZfLtrabogwjMok/OUQFhS1HlnzCl0A3wY6/LqzG3wRdMU3oVVoM4YfkVhP+if8jn5SlnHqSBb9iq4dMFw==
                                                                                 Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Men's Socks Smiley Face Pattern Present Gift Keepsake for Him Casual Size 7-12 One Size : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Pattern-Present-Keepsake-Casual/dp/B0BTTG5RR6/ref=sr_1_232

   Collection Date
   Fri, 21 Apr 2023 09:29:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VLcTDkawB90C8wUxTGyDe7lC5xxn2g9TMBpYHfc48+qrLdA3QpjlTK9EioPD60Mpssu4z90qsqAYxHxA0/9f+obhdEzi7vUN5zRxCoAF6IdMkMUj46Phmelmi616RQke+O1RJM13fdJMPkynnpKasTbcpWoHmTw6cEuSqB51AeQ=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Pattern-Present-Keepsake-Casual[fs]dp[fs]B0BTTG5RR6[fs]ref=sr_1_232]]_Fri,-21-Apr-2023-09-29-54-GMT.pdf

   Hash (SHA256)
   65c467389d75811a315962d390dcadca5b15d399e3e1f2dd67ce2600dfb4545b

   Signature (PKCS#1v1.5)
GxO0Y8WtnNBeytfxK0wJb6uDZrGhpKfJZFnGULQz5e4H5SUmVFOwR/uX0CLJ5zGM2OeXSqPOL/cZTWyFahpYI94NbhCjeB0kK4VHt5yNr6D/9p4Nq2ZcqRTio0hshUhddTU3iPAUEC22FsZZjmrei1N0RlJTjQDnuWLP9T3ZdcE=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 22:30:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eJJNZ3lxoRuMCap4qv32Ep0+pCx68rvfb9qC6IdLArdRiyU8HPT6/DJNMvh2BMn8OleYvJkZAsO30JvofgfLyYEomuEJ5aNUB6X8ZLwbCX/Sau/rmA86mecAlje3D8e0Zi81AMLpqrPypX8RzOofbAlGCKyrKh7nhmUbsIFRUDhwAq7SFULUwuIpqULLZyt/AcAopsTYcE
   +3lI2OD68UCNFrUnUFq5tb4h+6cqj/ACJ84dlbCspdV83Djc7+uK3CDbV2DJDSEaCI6tSx96Yv4etZgyn0JOTNBh3hWsTmzlnbifogiU0N5kyCsk3qsx2t5mrs5B4W2xqPzV8fGF4ldQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-22-30-26-GMT.mhtml

   Hash (SHA256)
   3f2be8a506eeb8cb42b9d7cfdd99b3ad9acfadff2def75f40c7e270c9279d587

   Signature (PKCS#1v1.5)
aCLkXeCy/P/UyxVQe6In5m63T3JFmfJifbxLgJ/QMJuWC5przeaNXsB1ZGrry6vkkNXGQRLs5HajprNFgTCeZ1JjwvkNqyZHOLgOms1eHLsTgVnXwd3E0xV0k4LDTiqN6e5wvIh2zLrTUFYh7tP/NVeo7dGSAijp+67QoVzWEQGTOfE2PVqeIpuebj/
ByD47y8O18oQV9Az/8I1KxogwWKlm2UqkYEcIAYaF0Ekll8LI0h0lMRUMtbH/J0pgaHof0QQh7M67DHMnwSRcXZKH9NvU64PpehhM9V7UT4nWm/djWAjF+eVlKpG0NtSrmss85NfOSpWZ+S5HxXTRqJUhLQ==
                                                                              Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                            Investigator Name: RemoteUser2




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: GDERFANEY Preppy Jewelry Necklaces for Teen Girls Cute Smiley Face Necklace for Women Y2K Gold Plated Trendy Necklaces: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0BDDN2MQC

   Collection Date
   Thu, 11 May 2023 10:54:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KvNOALhn0k+butWPw7PtT06wCAVWHBXix2ELHllvQAkwEzQRoHNJPgvBrkosOMKo39s4sngnQ8mEJBlVm6fkb5FXSq2sI4M3221OxR9yi2+KsJJjGQ8DrpMYBbtGPQVMNbBUNIF2o77Ozr8V0ithtQKvSYLajpjAjz0Y0QydlnTR65qXrQ+jQ+X+okI964SMy9lJVzWEkqNkBlxbRy
   +eFQrTmrqqzYrgfa11MGsvRyV0sVNs/F+4K+MrR/uFUauz5zwbsX6wpEHlm/9S4ecDUb9aiz8AiJsKFa10bWVbKjWyE9+GYG5GKnp/ci3/4YSFGgJajIcYOHDZIvO+UvIdWw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BDDN2MQC]]_Thu,-11-May-2023-10-54-34-GMT.mhtml

   Hash (SHA256)
   065d91af653d9942242d8b1ace0d2a69e731f70740a736ff2b9e66814aecc043

   Signature (PKCS#1v1.5)
TaOWa7Yt88zApPk3HMYT2RPGxZ1VAVErxlxkihvNIoEtWishJEYUV7jt3a719OmxvuPe9P5otpiNaUJwYRiwuE5nC+HvzX2jp88/CFwjdOpABaaCSQNwXZCb831zciThBnPlEiAoMNWKIeCCgYHq3gQLvEiQ70mZ9zMO1IU4ygbBGcIuL5xEEz3YJMHwVIhTFavudsGxpnVxTBZjn/
lLaDaTHQOv7GzMOEP0HNKjHyElzDx0No8GfQ+pib+AV22gzd53tcywXk9ueAMaJYd6ArtBGiFuE/XLUrAc5yUphT6LO+eAo+2DWn7KHf1X80xU/Urb3vsiwW/jOR7OHiLM+w==
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                      Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 10:58:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gdcUviR2ND9Iv8zh25hxWVI1p9/dP0DuxPa+8/VjG3LKgmazTsezSlaymfImXDXy3A4mXjHaan4U6Yqx2kyZWtjx/lrXIR5lLXdhlX7u5TFs7+XWMRLaeRmQsC7hFWzuc/zaUQJZXOkHWf1X7OjbNYBlMM7WZxoNIlaSuA85SWJ7cRDsygrLcTy2a/
   eimoObIU5xpgEgNXgQkT3pAuCnIRhvfUCGMe1SP52SzYOEfKj5UczHGhPFd883+dOwhurOFgXQYfL6zXdb8d2O4Pz3R2R0DDt8S/dRsVtNkSEaO7+3beka/EBcOo39anT7KEZBAdXv+sSw5vZOqUDxMdfrhg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-10-58-10-GMT.mhtml

   Hash (SHA256)
   f5c7e05a733dc2d199bfb3c168560d626d83dfd704c643a7ef3e31d13110e59e

   Signature (PKCS#1v1.5)
hjx/+e+CioUw+z0fk0S56Py5NZZuttwBLaqFmCHrYPHqi5gnmtH2zs7DpXP13hWdmZbK6NUKzw7maCJt2I8IpEqGQQoLeHyq8coPNoyUUeFl6WxaWcQQNiSEAWVwrgzvKbgnrwJfuMx5qO/Vjeb7/+nF90u7TAQSGxooaFyJDw85xtZeRtduDB1EmNoaRkA+Xen
+7sZVzHIrlDXbpTyGz3e0jSThyRysOTcelTOyY7SzbNyp6pvxH0+XvlX1hXxbACT2dXlEJDQ7GL0H8bhUeaEiAdhzgXtKykiILYwCKcRapNl99RaFu3ldVWKaDWN58zJSqF7gqRaSHH48ZFDtOQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 2.63 x 2.88 inches. Flower Power Smiley face Love Fun Embroidered Iron on Patch.

   URL
   https://www.amazon.com/dp/B075JF7N82

   Collection Date
   Fri, 02 Jun 2023 05:59:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   U2UDfX+EHjC+Q7iYyk+nYbcmFIwqX9cH/sdb7OZTWUFacNBlTUcNjbIrUAFCwfsgl10uStm9J/e3TnVaVkHdxiKwk/0JqLRaQztNw0D+B79M0CYP0G//eF6Kf3AAcWiWNZmDIN3wY49EwKhuhrNkmaQKD3JvVVhJstOnjm6eZV0InEohs0BiU7vpWzBU/0waPfMh8/uygJ4HnPGTuQbSM/
   YRhPnd+79up5HowPhMz6MpmAv11AIkXKGnT0POJxyo/sIDsTP29Wpx4KUeZ+iz0vjhsb3e0+V6jdLTactYi0CctQBrnWUsNEcLOPM+60C6lp7HYgR2KgWM6ymtHNxFyQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B075JF7N82]]_Fri,-02-Jun-2023-05-59-21-GMT.mhtml

   Hash (SHA256)
   c188ddb03a06af80e07693bbea69b302994542aac75b3e245831959abc2d4b37

   Signature (PKCS#1v1.5)
jVYG911vT/XvJrH+f7npMgE8dRcFssasJCeqvvtmTaqhHNJBt/1ZuLyBzo/sHEt2GK9Pxwb4Qtjr7/JpK4eKuHdHKoCqpZU01QHNIzMu745CIPX+7TLc5UEt9zShMuXFo5ZDsWzpWP5mf8mW8rP
+FCLgiqztFjz8PHyq02MnXUJaZ9ogYZlquZmIydjBxkIl9VHBXvoMkzrQxqoJ1ilW6rSrVL0sALaS1GSUNBC2pcR9Qbkm9CzRA3wRpIIQZJmAj1xOubASJWFr7u/P/wDbe13n6JwTjLfWdE44RlCGER4L+1Fs3W33xPgxYY3RaTvPkbwh87HEsoHBM7JBr3ZJng==
                                                                                 Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 06:03:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mTXrHKOMSzB5DYdUa9t0oWH9dOdZSoDLdJdHBaChBXHJPgScUHl5gwwZXNKkqqzYPcSZzui4QO3eVTZedi58oq8ZfLllyGghnsx4olfAf56nav5NCYLXplYD1TdxyHuX8TrD9GsoTsp0KBqRq4W9mtpn4Jk8e1q7Mj4nwexbeG6QCfyuykC0w1GuUWYCJ4atCMcvV1NmAgOLpGQ/
   B13TzZ3Wfm/V2UulukXoVGt0YyEMPr1aS58xty43Nd9inMx9OuqR/VZMk2SeqhsMV7leghJt2tkt3KY13vdTAZOuRW4J9z3Z0mTTzFyxmVeWAoDm3wO778/bNYgMtQRoI5X00w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-06-03-04-GMT.mhtml

   Hash (SHA256)
   fa59fb78a8279cdba2ca568d6dd259c16381c32374eb5906d8117513a545498e

   Signature (PKCS#1v1.5)
lFGlqE0rX9K5wHkRl9q4gRnIFrJuVsZfgwFltnYWcYMcNkUQ65kvwWWTkS1mbWVoM+7a6g1bZKypBvmLwrkDg5WW7ScLII6hHpF2Lo7z8jQn9nAop6cYLYz+ThG65/JMSzELUmvT+YSFun/Rv/tm9eyo4SBNndRL1e7bGWa1wt9Nu/Zf3ifOqspIabnp/uROJlM8CqxN4nH+
+WnlTobdBHv1jXxB2MupupXiWIQPjw0hFOAcM7OAs0fevWpvpcmvoxsPA8GTRcuR0jWBycEogJUtoZmIkYGt7hO0zaBEaRvQS6jes4USUA+RUbCdQQCi1OeJl0GRncS+pPBerpAbWQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: DIBOR Inspirational Smiley Face Have A Good Day Choose Happy Hot Pink Preppy Reversible Throw Pillow Covers 18x18 in- Pink Trendy Girls Room College Dorm Decorative Cushion Covers ,Teen Girls Gifts : Home & Kitchen

   URL
   https://www.amazon.com/Inspirational-Reversible-College-Decorative-Cushion/dp/B0B99HCH4P/ref=sr_1_184

   Collection Date
   Tue, 09 May 2023 09:37:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jmtmC0gbYQQdaF+r6d+9KbrbvgLqcV8AQ2SkqHcQO55RuTWAgvQ8xstJf0xWcUAFN7U3+OF7dLjuYLmRz5mQfUpA4ijuzmH1d8riRq5VEUYtlTQ8JCPJw7k60SphjwApM1l7D6c/oa16q/4m48PPPd2+WOr4R80H6MYEwRPHTcU=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Inspirational-Reversible-College-Decorative-Cushion[fs]dp[fs]B0B99HCH4P[fs]ref=sr_1_184]]_Tue,-09-May-2023-09-37-06-GMT.pdf

   Hash (SHA256)
   566f244086f97bc54c399966c84d983e85bbd6b7dcf412b4850e99012f707c21

   Signature (PKCS#1v1.5)
fiQvsA579ykIYjYRizHY7RZNWTbVXZH7NQTLdL33xYfXmAeS2h9H3YprH6FAep+f2rcR3CqKURD41lXKgBXFSBAhov6tw/ajBbfoF131wYcTLnN+y2Q8WXN7gVeeVISm/+vJCD+mfKoK9mhsY68RW/ruksHmsb5HGvb1mKKbRkM=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 18:21:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   c53Cpc0f3GLuTVxc0nZzrzDkct4AwhD4uhKnLi9iz31x5tMuUsnkLtLIvnZBu6+C1X5YY52M9w7iZ3jqtrIR618koLo8trNUfrDE/dSsoSsznmiIoK3w/bLcOCjYLC84lQdwc8VZ2YX5Klx+4Md8G1pSsuMl37FsoX+XZ0U4vk0j1domNTtOAujmcgk60D0o3Mb5sU/
   rXCJJKvSrNuWfjSRsF0qV53GK9PHIzs217pcE8tK3yivWykYY7cJmFQmG+UVheqeL2PHUmKXp0yu6ZGKLAy87J1zz481YyATNT0s4tt5NwCTeDjJkgvCcgBOzVn4ao/BlwQvUJXbb1zDXxg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-18-21-00-GMT.mhtml

   Hash (SHA256)
   8cfc8ceb4036a719a3458abafa69d042f17a97b34b285d27b0a1bd1e53e8f4f6

   Signature (PKCS#1v1.5)
F0KSRoP08MLwlh0HURBNhPztY7WqZZgsf4WcIWS3rRgLGqPCK/6NIru+r2aQPHOjUpc7xCYY04FzUsIar/YoYVgwOccuWjwTSoe7j/0/RRi7lIq5S80+QJGaKwDCNkcTEwDQ57Pd86D9Be2g9uwfxStS8q46cnP/moqfhuqEbm9VjtKxBRc8i9syBOfVUGEq9OEOt74p3pBIaevAGga5AJ/
tO6ttlUTwytBDow10kSFN2+SC6OZTs2K0S4pPmdGeZKZZWYGfWlHIzuGFjaf6Sp5oOHQGF9GnuajStPtZ8CbiB9V3DqKD9wO9uIhO2t0iHMYmdvlHrNWB+gHylSU47Q==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Guanshan Ash Smileysox Smiley Face Socks, Women Cute Socks, 2023 New Embroidery Funny Smiling Socks, 10 Pairs Unisex Happy-face Socken (A) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Guanshan-Ash-Smileysox-Embroidery-Happy-face/dp/B0BPS123NV/ref=sr_1_162

   Collection Date
   Fri, 21 Apr 2023 09:20:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   U3tfCkgrlzSlypStY8xurj3UBCBPNACV2DlUyR/qcJ9o4o8drxTre5BuXfTIMZ9zl/mhxqSu7jwjrvkaf+k3bRV1ObmGQqdzGTmdzaRKkxzCeInVgBlEUc94JCZ47MGK891vzSZZ0al5umDEJ660CfdQBXWio+Sg6geohbdYpUs=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Guanshan-Ash-Smileysox-Embroidery-Happy-face[fs]dp[fs]B0BPS123NV[fs]ref=sr_1_162]]_Fri,-21-Apr-2023-09-20-45-GMT.pdf

   Hash (SHA256)
   67060cd2d3915e5d78e494b7ccc80ec8daa8f0eb4dc2eef00b0dda5b6e1af9fa

   Signature (PKCS#1v1.5)
przNIOlBiyMjjOX/m36LF+T/EXcC3Kn3Gqx65lsA4ezicyCRKJmdzxSkAxgM1CH7AJvMdp0wPOiJ7Yz5ab3kp+1zyTVv4P2SDoOt2TEKzoDZ+46ZnXAFi89CilMdz5o1ujhd5d/PwhNID9iiQR036iFNUHA5HVFcvH3UxpMoFvQ=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 11:46:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IJTYlr8vLKO8MpSvQ1Xn5Mgmy5vYUC/trkYXotCvqmQaUXTrPBYj36XY9th8SwdVBkSZsEm0Q4aplz3TqYWZHgsRRlOeU2ls3sUgPYdLgvXf2PRHMjWXLk7qf9/W3ncFtj5TicXKKH+Wavb+xlaIGQBxWXqMXuEIAGIOXuWrIDuklI7v0ddpHtevu1dq68OdPZdMf1n4f9VZQU5Y7/
   u6Zdok2vi9ZKVesPCEySakf3iKTxZ1V4h02yBKgQNlzZ/1KV70/vO24+lUSvQJHiEV/8SR7gYraBIKrFJQAR2PmiolLSzwkXQsYYDTdhrys+tFu0FEyDA/koUOPiHtw4tKug==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-11-46-36-GMT.mhtml

   Hash (SHA256)
   15a748e5102d273ea621729b5283b298e10cf244588cf29a785e54149212e683

   Signature (PKCS#1v1.5)
gFu0xedh9OkaZC0prE1hVSnRV3Z71I4S27WnSz6DKOhQJTAnE3HOaWSEnPYDUuey957H8NUOj16V9Tt3qlnwrzwck7Jmm9aXA14m1+rWUlFvbPF1cXdSKLDebIo5xQcNOd9B2InZBSO1+QGMK7Qjb428biS5LnO/
ZOf2VUJL1IRk8SErlgOpIwUYW5jSVBQxJ98XTZ50GRufRX2Ia5NnxLUWnY7qTomFM9E/EqVU1F2bilfoQ4t+uLeYE7lDsDxfsEXOnInwSqCenp4JSOV9nYQO6F7POxGx2wWPJoT+BrFGMoC0Di4XHGUX1WOlO7zC3zOruyuyxn6gQSH8Oumv+Q==
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                                                Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 09:32:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MSG4+h6K5z8FYT556x9xWs8RxAOFrsJ5EAAw1BFAIbLXgk5tcbzm1pKCTl9waEPWxF0ubgUm0S48i5SGwFy0hCLwgIuLhCaSv5eKJIBroj+zzP4wsdpuhgjc6peT/9PxOdy0HfrqsjKnS8w1rs8xLQKK+XXn340jydVuGc6aqKszmwTbZUSyoOhjoMAgZ20YegBl06MAmRsoEVeE1ao/M7Poo+K
   +LWSbn6ndgWrOZyperl7Mk1aZiDRFynG/THJFBLDIN+qLe2AUIa5E+ud4eALxIY8Nsvn8UN3Njg2InEtAp7o9EkHjJ3NvHJOoBgP00CU/x+d5u1E7LfCXT2kiKA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-09-32-04-GMT.mhtml

   Hash (SHA256)
   6fbe85f21ae5c6c7008cbfa26ef8ccb855d44f8fe8db61ccb3b3da4adf97b3e4

   Signature (PKCS#1v1.5)
ZaC8SOoCCrRpDLly+PCbfo4ayQqWGFU56yrlmGB98qb3VpkCa1CQCsNp7ypDKnPiiSXyhCv6KbES4KyI8k4A44vUtxcoXTn3ABozYzHnyl1oaUpIMYO75rlDlvnk8fRAD99stn3rcSvzdyxTGW0lF1a/nqVs1PR0hwtTihxPA2Wx1hthqk+hv7dVKjSVAsn6eB5oC3vPkvEtZysNwq
+3t0Y9E5rlKulTW6Qk/9VSNPDRwfZCdtsFPlWXK4kPUCmGc13Zb0EvQJyaIiNNIQGejxHH/t+DKyXKf487RXYyYEIS/IbKZB2Ps/i/w5K9iYt78bAoAZWvX5LeKZtrhb2Tog==
                                                                                 Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Cute Lovely Smiley Pattern Phone Case for Samsung Galaxy Z Fold 4, Z fold4 5G Kawaii Translucence Back Cover,Trendy Silicone Protective Shell Compatible with z fold 4 White : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B0BZLDK7PN

   Collection Date
   Tue, 16 May 2023 09:39:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NG+3oqTQ19+sS6CANnPEmIHQfgLRUFWzkirqzjpTYDBWIa9Dtx89MiotSlDPk72lLG5V15aV4FxEuqYYtvPXD+9xveezapnBL0NMfObB1QEkrxlQe7qevflV8OMfDYxBI/4i2pJ2B/KqrO2DmfsshUOHykOPyT1GFHF1jNJDr/iBLemFUrQCFc9RFwJVtO8e1sJ5pI6n4Z5T5xY/O7CTrtmAKTRkVf/
   HRBE6sefZn5IllItnaQVZPPKb1Sy2HY765W5gPK0idkkuai4SSv764P1u5bOcpyMpBqBrKmfPWhTLJJeUN0v0QRR6HH1UlR0aOetNnHONL+/ktnkkZ6vITQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BZLDK7PN]]_Tue,-16-May-2023-09-39-07-GMT.mhtml

   Hash (SHA256)
   1a4985735dec8b190da74aa1474f50e9367ca54058a0d9ea99d57c9c032137fd

   Signature (PKCS#1v1.5)
f1fbXXjG9wt5D786Rq6UrG3JdxeIwoxIGmhtkCXRH3u2qnpcCIEmuuJT+twSa8Gq6NfXJFcVu/7fVPxINgGwxnuiJ4drbcgvng2jMXYQ2dJcw8FSxXN7zsVe+tPf/CJQ6HDQjUKuuMxFbwM5LamuEMsd7TgMSnz2loVfsUeSecjirXtb2b2ilcRz3bApWMI4ta2oaLbS3rswjp4ksh25LaMpXYHstT061fp/
hVXWXMs6vZqG/EPrH7IgCwB3iDSyJIlIw4K3KNEWh/em3Q/nUdWnE94rKAV4C5AGk4kH5FsSEfTRmNo7gVURp9MKttxajuntLd422+f00iHmXGwpUg==
                                                                               Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: DIYSOPRJOOM Smiley Face Corduroy Makeup Bag Cosmetic Bag for Women and Girls,Large Capacity Zipper Makeup Bags Travel Toiletry Bag Accessories Organizer (Blue) : Beauty & Personal Care

   URL
   https://www.amazon.com/DIYSOPRJOOM-Corduroy-Cosmetic-Accessories-Organizer/dp/B0BXKR57G2/ref=sr_1_150

   Collection Date
   Thu, 20 Apr 2023 11:43:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BFx8r1heHCemJtvGblO1hKutvGG6puGwXxLqyb6JOp2Mp9XhOzNEM4dY2K7jqBt3nqJ95mhnS1afPx/f0D9ufI9qHLqlHn1oOypLYUy21C4YD8UQmO71LIgE8J0O92HIn6DJy55ZMhFPaPjj3epEJHNxbZPHRS227mxY7i/kGt0=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DIYSOPRJOOM-Corduroy-Cosmetic-Accessories-Organizer[fs]dp[fs]B0BXKR57G2[fs]ref=sr_1_150]]_Thu,-20-Apr-2023-11-43-17-GMT.pdf

   Hash (SHA256)
   05450b4f4d44d10d33afa71a33e25ae055cc3f810fbb20d0ce572bcea8d32792

   Signature (PKCS#1v1.5)
C5JUG0zw6GpglQv/uAS5120bNpF3H4S1pJzV2A2KAZrTRf7zIdTPyb/MxGAWo4yvtgGDUpmuQr6amXD9sgeLKMUK1R+5aKsDr+jxXaMOA32gDxVqVqo56DwbYCqNsB7Me9IitXkf9qxuN0/AXBlprVSAGgslbluHRZvXeoqtWvc=
                                                                                Case 0:23-cv-61203-AHS Document 35-4 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 03:12:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   allPz24TpmYQM++adXAtbMw0kBK+s78lSIb6KS9Qozv8p8VHny+RTMQEBKrfxMJmOKDsCtIHC1mxbxZWP6KCpY6je33BekOTrPkts1NwHuHzIOXx8Ul5H+pCNb9sjpilvtRMhsitcq49bajhtziseek/1zLhgXgyEyNl7pHW4e0X4coMQ+Shwses9lIXNi65wm69obHBdoP
   +r0mmAzUzZQMecG5hNtyk758+9Q36HfGjnzMNJYTu3ljmRM1lUQjHTTdgkFgG/WeoJec2ZPvVjlrMZpV3JON42rKYlXDAviL8mHfbLPqsaluw75W8Etpks+CROoWOlvoR9IHry9erwA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-03-12-18-GMT.mhtml

   Hash (SHA256)
   153408f2466523150e6bfa9b3138f066b55727c1407a223f00c55f02e1e1a5c7

   Signature (PKCS#1v1.5)
NP30sBk4VgtMoscIeZk4a2rb0LGuob1K/TG7pcS5pxFFRC+j4STFq/CI1O7OEprSm16B+1Nupdxt2bbOgG5u8RPvKQl/FAvJcsg7ByxIEXZzZG5606/50d02opq01fLfOBuFSXtsd+46A5clBblfkfNQ01l
+2GBvtezZ7wrphWRltYWchcUtFRB4ZtoELVG2TWJ9VPLJMH2nYYTBzpF4uwKWJ0W37DvkgTqkH/K0S+pT1IXeXBXx9EFYe1bABhhzESaMCVeiQDa3yNga7oglVFcobI4ZC0rr2f89O0mj0xdpr4GLkUogrHx+IOCMBsWuD7Yq6duOTE7WXi83ACvL9A==
